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JOSHUA D. HURWIT, IDAHO STATE BAR NO. 9527
UNITED STATES ATTORNEY
HEATHER S. PATRICCO, DISTRICT OF COLUMBIA BAR NO. 465883
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF IDAHO
1290 W. MYRTLE ST. SUITE 500
BOISE, ID 83702-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413




                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,

                Plaintiff,                        Case No. 1:24-mj-00225-CWD

        vs.                                       GOVERNMENT’S MOTION FOR
                                                  DETENTION
 MATTHEW ROBERT ALLISON,

                Defendant.


       The United States, by and through undersigned counsel, respectfully submits the

Government’s Motion for Detention pursuant to The Bail Reform Act, Title 18, United States

Code, Section 3142. See Government Attachment 1 (Attachment 1). As set forth in detail in

Attachment 1, the Government seeks the pretrial detention of Defendant, Matthew Robert Allison

(ALLISON) both as a risk of flight and as a danger to the safety of others and the community.

Attachment 1 was filed with the United States District Court for the Eastern District of California

on September 10, 2024 (Case 2:24-cr-00257-DJC (ECF 11)), in support of the pretrial detention
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of ALLISON’s co-conspirator, Dallas Erin Humber (HUMBER). As set forth in Attachment 1,

Exhibits A-Z shall be filed under seal.



       Respectfully submitted this 10th day of September, 2024.

                                                JOSHUA D. HURWIT
                                                UNITED STATES ATTORNEY
                                                By:


                                               /s Heather S. Patricco_________
                                               HEATHER S. PATRICCO
